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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                 :    Hon. William H. Walls

       v.                                :    Crim. No. 19   -




JOHNDOE                                  :    ORDER

                                              To Be Filed Publicly

       This matter having come before the Court on the application of Craig

Carpenito, United States Attorney for the District of New Jersey (by V. Grady

O’Malley, Sr. Lit. Counsel appearing), for an order: (1) captioning this docket

United States v. John Doe, and (2) sealing portions of the corresponding docket;

and for good cause shown,

       IT IS THE FINDING OF THIS COURT that:

       1.       The United States has made a motion under Fed. R. Crim. P. Rule
                5 to seal portions of the corresponding docket and to captioned the
                docket as United States v. John Doe; and
       2.       The United States has presented legal and factual arguments in
                support of the motion.
       WHEREFORE, it is on this day of 2 19

       ORDERED that the Clerk of the Court shall re-caption this matter

“United States v. John Doe”; and it is further

       ORDERED that this Order be filed in this matter on the ECF system; and

it is further

       ORDERED that the redacted Motion shall be filed under seal in this

matter, until otherwise ordered by the Court; and it is further
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      ORDERED that the Clerk’s Office shall enter as “Sealed Document” for

each document filed in this matter.




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                                                D STAT   DISTRICT JUDGE
